                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA

                                CHARLOTTESVILLE DIVISION


 UNITED STATES OF AMERICA



 V.                                                Case No.   ~ :\3   rlj 00 0 dl.\ ..- 060 01t
                                                   Filed Under Seal
 BENJAMIN DRAKE DALEY,
 MICHAEL PAUL MISELIS ,
 THOMAS WALTER GILLEN, and
 COLE EVAN WHITE



  AFFIDAVIT IN SUPPORT OF ARREST WARRANT AND CRIMINAL COMPLAINT


        I, Dino P. Cappuzzo, being first duly sworn, hereby depose and state as follows :

                      INTRODUCTION AND AGENT BACKGROUND

        1.      I am a Task Force Officer of the United States Department of Justice, Federal

 Bureau of Investigation ("FBI") and have been so employed since September 2016. I am

 assigned to the Richmond Field Office, Charlottesville Resident Agency, located in

 Charlottesville, Virginia. My principal duties include the investigation of, among other matters,

 domestic and international terrorism and threats to the National Security of the United States.

        2.      I am a sworn law enforcement officer with the Virginia Department of State

 Police, Bureau of Criminal Investigation, and have been so employed for 22 years . Additionally,

 I am a Task Force Officer, deputized as a Deputy United States Marshal as a member of the

 Federal Bureau of Investigation ' s Joint Terrorism Task Force in Charlottesville, VA.        I am

 charged with the duty of investigating violations of the laws of the United States as stated in




Case 3:18-mj-00027-JCH Document 3-1 Filed 08/27/18 Page 1 of 23 Pageid#: 5
 Title 28, Federal Code of Regulations, and to seek and execute arrest and search warrants

 supporting a Federal Task Force under Title 18 Authority.

        3.        Your Affiant bases this affidavit upon personal knowledge and observations made

 during the course of this investigation, and upon my personal review of records, documents, and

 items lawfully obtained by third parties, public records, and interviews. Where the contents of

 documents and the actions, statements and conversations of others .are reported ·herein, they are

 reported in substance and in part. The Affiant is familiar with the infonnation contained in this

 affidavit based upon the investigation I have conducted to date and based on my conversations

 with other law enforcement officers who have been involved in this investigation, some of whom

 have also been engaged in numerous investigations involving domestic terrorism. Because this

 affidavit is being submitted for the limited purpose of establishing probable cause for the

 Issuance of an arrest warrant, I have not included each and every fact I know about the

 investigation.




                                                 2




Case 3:18-mj-00027-JCH Document 3-1 Filed 08/27/18 Page 2 of 23 Pageid#: 6
        4.      Title 18, United States Code, Section 2101, provides that "Whoever travels in

 interstate or foreign commerce or uses any facility of interstate or foreign commerce, including,

 but not limited to, the mail, telegraph, telephone, radio, or television, with intent 1) to incite a

 riot; or 2) to organize, promote, encourage, participate in, or carry on a riot; or 3) to commit any

 act of violence in furtherance of a riot; or 4) to aid or abet any person in inciting or participating

 in or carrying on a riot or committing any act of violence in furtherance of a riot" shall be guilty

 of a federal offense.

        5.      Title 18, United States Code, Section 371 , provides that "If two or more persons

 conspire [] to commit any offense against the United States .. .. and one or more of such persons

 do any act to effect the object of the conspiracy, each shall be [guilty of a federal offense].

                                              BACKGROUND

         6.     On August 12, 2017, a "Unite the Right" rally (UTR) was scheduled to be held at

 Emancipation Park in Charlottesville, Virginia. The proclaimed purpose of the rally was to

 protest the removal of the Robert E. Lee and Thomas "Stonewall" Jackson statues in

 Charlottesville. Several groups and individuals espousing right-wing nationalist and/or white

 supremacist views traveled to Charlottesville to attend the rally in support.

         7.     On the evening of August 11 , 2017, the night before the UTR rally of August 12,

 many of these groups and individuals participated in an unsanctioned torch-lit march occurred on

 the grounds of the University of Virginia, which is located in Charlottesville and in the Western

 District of Virginia. Hundreds of participants marched through a portion of the University of

 Virginia's grounds, carrying torches and shouting, for example, "Jews will not replace us!"

 "Blood and Soil! " and "White Lives Matter! " The torch-lit march culminated at a statue of

 Thomas Jefferson located at the base of the University of Virginia' s Rotunda, where the march

                                                   3




Case 3:18-mj-00027-JCH Document 3-1 Filed 08/27/18 Page 3 of 23 Pageid#: 7
 participants surrounded a small group of students and community members who had joined

 around the statue in counter-protest. Several students held a banner that read: "VA Students Act

 Against White Supremacy."        After surrounding the smaller group of students and counter-

 protestors, the participants of the torch-lit march pressed in closer towards them. Moments later,

 violence erupted among the hundreds of people present.

        8.         The next day, on August 12, 2017, the UTR rally was scheduled to begin at noon.

 That morning, individuals and groups espousing white supremacist and white nationalist beliefs

 funneled into Emancipation Park. Numerous counter-protestors attended the rally to oppose the

 rally and its supporters.     Throughout the morning, numerous violent encounters occurred

 between white-supremacist protestors and counter-protestors.       Before the UTR rally could

 officially begin, law enforcement declared an unlawful assembly and cleared Emancipation Park.

        9.      Upon information and belief, among the most violent individuals present in

 Charlottesville on August 11-12, 2017 were at least four members and associates of the "Rise

 Above Movement," (RAM) a militant white-supremacist organization based in Southern

 California, who had traveled to Charlottesville with the intent to encourage, promote, incite,

 participate in, and commit violent acts in furtherance of a riot, as that term is defined by 18

 U. S.C. § 2102.

                                        PROBABLE CAUSE

         10.       Through open-source research by the FBI, it was learned that RAM maintained a

  publicly viewable Twitter page. RAM represents itself to be a positive influence on those who




                                                  4




Case 3:18-mj-00027-JCH Document 3-1 Filed 08/27/18 Page 4 of 23 Pageid#: 8
 join their ranks, as evidenced in the following statement posted to their publicly viewable Twitter

                                        ~~     IDSE AOOVE   ~OVEMENT"'
                                         ~ l -Who we are-              W
                                     R.A.M is a new organization dedicated to
                                 the promotion of an active lifestvle and common
                                  values among young people for our future. This
                                  ls achieved through training, creative thinking,
                                       and activism. Today, under the pressure
                                    of consumer propaganda and values we have
                                       lost our pioneering spirit, the spirit of a
                                      fighter, our warrior spirit! The main task
                                   of Rise Above Movement is to revive this spirit
                                   Modern society fosters weak men, addicts, and
                                     apathv. We want to rise above all of todav's
                                    destructive culture and see the rebirth of our
                                   people, strong in mental and physical capacities
                                   as our forefathers were. In a time when you can
                                    be harmed for your political beliefs or shamed
                                     for your heritage, we are here to defend our
                                               ldentttv and shared goats.
                         page:

         11 .   Through Twitter and other social-media platforms, RAM promotes "clean living,"

 physical fitness and mixed martial arts (MMA) street fighting techniques.            According to an

 article published to www.nocara.blacklogs.org on 7/06/2017, entitled "DIY Division:              The

 Violent neo-Nazi Group Central to the California Alt-Right and Alt-Light Protest Movements,"

 DIY, which later re-branded itself as RAM, subscribes to "equal parts Identity Evropa's flaccid

 identitarian discourse ... and the fetishization of masculinity, physical fitness, and violence mixed

 with the shallow anti -corporate and anti -consumerist themes of the film Fight Club. Propaganda

 by the group .. .contains ... fascistic themes of emasculated young white men needing to reclaim

 their identities through learning to fight and engaging in purifying violence." Accordingly, the

 group regularly meets in public parks in the southern California area and trains in physical

 fitness, boxing, and other fighting techniques. The following photographs were obtained from

 RAM ' s public Twitter page:
                                                       5




Case 3:18-mj-00027-JCH Document 3-1 Filed 08/27/18 Page 5 of 23 Pageid#: 9
                 R.A.M . @RiseAboveMvmt · Jan 24                                                      v
                 Some de bate about t he future. othe rs work to build it. .#altnght i'fnationailst
                 #riseabove




         12.    Benjamin Drake Daley (DALEY,) a resident of Redondo Beach, California,

  figures prominently in the organization, and regularly appears in photographs posted to their




                                                        6




Case 3:18-mj-00027-JCH Document 3-1 Filed 08/27/18 Page 6 of 23 Pageid#: 10
 publicly viewable Twitter page. RAM also regularly posts photos of themselves posing shirtless

 and wearing skull half masks, with the group 's name overlaying the photo, as seen below.


                                   R.A.M . @RiseAboveMvmt    Mar 8
                                   ;mationali~t #u'tranght




 DALEY is seen front and center, kneeling on the far left of the first row in the photo.


         13.    RAM and its members openly identify themselves on various social media

 platforms as "alt-right" and "nationalist" and frequently posts videos and photographs of its

 adherents engaged in vigorous physical training and mixed martial arts (MMA) street-fighting

 techniques in order to prepare to engage in fighting and violence at political rallies.




                                                             7




Case 3:18-mj-00027-JCH Document 3-1 Filed 08/27/18 Page 7 of 23 Pageid#: 11
         14.    The four defendants, DALEY, along with fellow RAM members/associates

 Michael Paul Miselis (MISELIS,) Thomas Walter Gillen (GILLEN) and Cole Evan White

 (WHITE,) traveled to Charlottesville from California on or about August 11 , 2017, and

 participated in violent encounters in Charlottesville in connection with the torch-lit march of

 August 11 , 20 17 and the UTR rally of August 12, 2017. In addition, these RAM members have

 engaged in acts of violence at political rallies in Huntington Beach, CA (3/25/20 17), Berkeley,

 CA (4/ 15/20 17), and other places. In the screen shots below from videos posted to Y outube, the

 aforementioned individuals are seen engaging in acts of violence directed towards their supposed

 political opponents and counter protestors at political rallies.




 In this video, an individual believed to be DALEY can be seen attempting to kick and/or punch a

 counter protestor, while wearing a half-skull face mask consistent with those depicted in RAM ' s

 group photo previously noted.




                                                    8




Case 3:18-mj-00027-JCH Document 3-1 Filed 08/27/18 Page 8 of 23 Pageid#: 12
        15.      GILLEN was also present during last year' s unrest in Berkeley, California, and

 can be seen in the same video repeatedly punching a counter protestor who has fallen to the

 ground.




 GILLEN, in an apparent effort to prepare to engage in physical violence, has taped his fists in the

 manner of boxers or MMA style fighters , as evidenced photo above, right.

           16.   MISELIS, who along with DALEY, is a prominent member of RAM and was

 present alongside him during the civil unrest at political rallies in Berkeley, CA and at least two

 other places. In the following photograph, MISELIS appears with his fellow RAM members and

 associates during the Berkeley riots, and like GILLEN, has taped his right fist in preparation:




                                                  9




Case 3:18-mj-00027-JCH Document 3-1 Filed 08/27/18 Page 9 of 23 Pageid#: 13
         17.     Investigators have also identified COLE EVAN WHITE as being present with

  RAM at the Charlottesville UTR rally, and who has appeared alongside RAM members during

  the unrest in Berkeley, CA in 2017. White is a San Francisco area resident, and can be seen in

  the following screenshots of footage from the Berkeley riots in April 2017.      White is the

  individual in a purple sweater with flowing platinum blonde hair, alongside MISELIS, and later

  attacking a counter protestor:




                                                10




Case 3:18-mj-00027-JCH Document 3-1 Filed 08/27/18 Page 10 of 23 Pageid#: 14
         18.     RAM and their associates, in contrast to their purpose referenced previously,

  openly espouse animosity, anti-Semitism, and violence towards those who hold opposite

  ideologies to their own, as evidenced by posts to their Twitter page:




                                                  ll




Case 3:18-mj-00027-JCH Document 3-1 Filed 08/27/18 Page 11 of 23 Pageid#: 15
              R.A.M. @RiseAboveMvmt · Mar 20                                                     v
              #national ist rFoptics




              R.A.M. @RiseAboveMvmt · Feb 15                                                 v
              Shortly after this pic antifa was btfo in Huntington Beach #defened #America
              #nationalist #a ltright




               0           n   1        \) 20




                                                     12




Case 3:18-mj-00027-JCH Document 3-1 Filed 08/27/18 Page 12 of 23 Pageid#: 16
                   R.A.M. @RiseAboveMvmt · Feb 5                                             v
                   When the squads not out smashing commies .... "*nationalist ;;Jifestyle




         19.     The FBI has been conducting an investigation into possible violations of federal

  criminal law committed by individuals allegedly associated with RAM. The investigation was

  initiated following receipt of infonnation that DALEY, GILLEN, MISELIS and WHITE,

  attended the August 11-12, 2017 "Unite the Right" Rally in Charlottesville, Va. and committed

  multiple acts of violence against counter protestors, which in some cases resulted in serious

  mJunes. Photographs and video footage from the evening of August 11 , 2017, and from the

  mommg of August 12, 2017, in Charlottesville, Virginia, corroborated the aforementioned

  information.

                                                       13




Case 3:18-mj-00027-JCH Document 3-1 Filed 08/27/18 Page 13 of 23 Pageid#: 17
         20.    Photographs and video footage have confirmed that DALEY, MISELIS ,

  GILLEN, and WHITE were present and participated in the torch-lit march that culminated in

  violence against students and other counter protestors. In the following screenshots, WHITE -

  with the apparently dyed platinum blonde hair and horizontal striped shirt- can be seen using his

  torch as a weapon on at least two occasions during the melee.




                                                 14




Case 3:18-mj-00027-JCH Document 3-1 Filed 08/27/18 Page 14 of 23 Pageid#: 18
         21.    In addition to WHITE, DALEY also engaged in acts of violence that evening. A

  search warrant of DALEY' s Facebook account revealed that he admitted to being present at the

  torch march. In the conversation, DALEY was critical of another prominent white supremacist

  for releasing a chemical spray at the march. DALEY stated that such spray was unnecessary

  because "We had the[m] completely surrounded." DALEY admitted: "I hit like 5 people." In

  March 2018, DALEY referred to "Friday [the torch march] was good ... Saturday [the UTR

  rally] was a HUGE failure. "

         22.    On the morning of August 12, 2017, DALEY, along with other members of

  RAM, are seen in video footage committing acts of violence, assaulting counter-protestors by

  punching, kicking and head butting on 2nd Street NE between the High and Jefferson cross streets

  in downtown Charlottesville, Virginia. DALEY, the white male with short-cropped reddish
                                                 15




Case 3:18-mj-00027-JCH Document 3-1 Filed 08/27/18 Page 15 of 23 Pageid#: 19
  blonde hair wearing a white long-sleeved shirt and sun glasses, and with his fists taped, can be

  seen in a screen shot from the footage punching and kicking a counter protestor:




         23 .    At the same time, WHITE (in a white shirt, two-toned platinum hair, and

  sunglasses) joins DALEY by grabbing a non-violent counter-protestor- who was merely holding

  onto a street sign- by the shoulders and jerking him away. (Photo: below left). Afterwards,

  WHITE head-butted a clergyman - the individual in the yellow shirt with tan hat- and who was

  wearing a clerical collar. (Photo: below right).




         24.     GILLEN, as seen in a still from the footage below, has his hands taped as he did

  during the Berkeley unrest, again demonstrating his preparation for violent activity. GILLEN is



                                                     16




Case 3:18-mj-00027-JCH Document 3-1 Filed 08/27/18 Page 16 of 23 Pageid#: 20
  seen in the aforementioned video assisting his fellow RAM members DALEY and MISELIS, as

  they assault mutliple counter protestors on August 12, 20 17.




         25.     In other video footage from the violence, WHITE can be seen headbutting a

  female counter protestor, while DALEY assists him in the assault. (Photo: below, left). The

  headbutt results in a severe laceration. (Photo: below, right).




                                                   17




Case 3:18-mj-00027-JCH Document 3-1 Filed 08/27/18 Page 17 of 23 Pageid#: 21
  MISELIS , in the following screen shots of video footage used by Propublica.org in an article

  about MIS ELlS ' alleged membership in RAM, appears to be shoving an African American to the

  ground and then striking him. MISELIS , like DALEY, again has his fists taped in the manner of

  boxers and MMA fighters:




  Another screen shot from video footage depicts DALEY attacking a man without provocation:




                                               18




Case 3:18-mj-00027-JCH Document 3-1 Filed 08/27/18 Page 18 of 23 Pageid#: 22
  And later in the same video, MISELIS can be seen kicking the same man as he is falling to the

  ground:




  In the following screen shot, DALEY can be seen in the process of grabbing a female counter-

  protestor by the next and body slamming her to the ground.

                                                19




Case 3:18-mj-00027-JCH Document 3-1 Filed 08/27/18 Page 19 of 23 Pageid#: 23
  A screenshot from the footage below shows GILLEN, DALEY, WHITE, and MISELIS, acting

  in concert with each other as they continue to engage in acts of violence towards counter

  protestors.




                                             20




Case 3:18-mj-00027-JCH Document 3-1 Filed 08/27/18 Page 20 of 23 Pageid#: 24
          26.    The following photograph, taken by the Affiant on August 12, 2017 in

  Emancipation Park (Market Street Park,) shows DALEY, WHITE, MISELIS and GILLEN,

  among         others,      posmg        behind        a     banner       representing       RAM:




          27.     Later that day, but still before the official 12:00pm start of the rally, the white

  supremacists in Emancipation Park started to clash with counter-protestors at the entrance to the

  park located at 2nd Street NE and Market Street NE. During this extended incident, both sides

  threw water bottles at each other.     Miselis and Daley are captured in photos and on video

  throwing water bottles into the crowd of counter-protestors. After Daley throws the water bottle,




                                                   21




Case 3:18-mj-00027-JCH Document 3-1 Filed 08/27/18 Page 21 of 23 Pageid#: 25
  he   stands    up   on    s1gn   and    makes     a    "throat-slashing"   gesture   to   the   crowd:




          28 .    Bank records obtained by the FBI for DALEY indicate that his credit card made

  purchases at WalMart store # 1780 in Charlottesville on August 11 , 2017. The Affiant obtained

  copies of those receipts, which revealed that DALEY, upon arriving in Charlottesville, purchased

  rolls of white athletic tape, black spray paint, and a folding tactical knife.

          29.     After returning to Southern California, Daley made various admissions about

  committing acts of violence in Charlottesville and at other rallies in California.


                                             CONCLUSION

          30.     Based on the information set forth in this affidavit, I submit that there is probable

  cause to believe:


          31.     On or about August 11 , 2017, Defendant BENJAMIN DRAKE DALEY,

  MICHAEL MISELIS, COLE WHITE, and THOMAS GILLEN traveled in interstate commerce

  from California to Charlottesville, Virginia, within the Western District of Virginia, with intent

  (a) to incite a riot, (b) to organize, promote, encourage, participate in, and carry on in a riot, (c)
                                                    22




Case 3:18-mj-00027-JCH Document 3-1 Filed 08/27/18 Page 22 of 23 Pageid#: 26
  to commit an act of violence in furtherance of a riot, and (d) to aid or abet any person inciting

  and participating in or carrying on in a riot and committing any act of violence in furtherance of

  a riot; and during the course of such travel or thereafter performed or attempted to perform

  multiple overt acts, including but not limited to: inciting, promoting, encouraging, participating

  in, and carrying on in a riot, committing acts of violence in furtherance of a riot, and aiding and

  abetting other persons inciting and participating in and carrying on in a riot and committing acts

  of violence in furtherance of a riot, in violation of Title 18, United States Code, Sections 2101 , 2.

         Based on the forgoing, I request that the Court issue the proposed arrest warrant.

                                                        Respectfully submitted,




  Subscribed and sworn to before me on      ~-r ?--}                              ' 201 _i_




                                                   23




Case 3:18-mj-00027-JCH Document 3-1 Filed 08/27/18 Page 23 of 23 Pageid#: 27
